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 David A. Ward
   New Jersey Bar No. 042381996
   dward@klugerhealey.com
 KLUGER HEALEY, LLC
 521 Newman Springs Road, Suite 23
 Lincroft, NJ 07738
 Telephone: (973) 307-0800
 Facsimile: (888) 635-1653


 M. Scott Fuller
   Texas Bar No. 24036607
   Georgia Bar No. 100968
   sfuller@ghiplaw.com
 Randall Garteiser
   Texas Bar No. 24038912
   California Bar No. 239829
   rgarteiser@ghiplaw.com
 GARTEISER HONEA, PLLC
 119 W. Ferguson Street
 Tyler, Texas 75702
 Telephone: (903) 705-7420
 Facsimile: (888) 908-4400
 Pro Hac Vice Pending
 ATTORNEYS FOR PLAINTIFF
 BETEIRO, LLC


                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

 BETEIRO, LLC,

             Plaintiff                       Case No. 21-cv-_________


             v.                              JURY TRIAL DEMANDED


 DRAFTKINGS, INC.,

             Defendant


                  ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                       1
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       Beteiro, LLC (“Plaintiff”) hereby files this Original Complaint for Patent Infringement against

Defendant DraftKings, Inc. (“DraftKings” or “Defendant”), and alleges, upon information and belief, as

follows:

                                           THE PARTIES

1.     Beteiro, LLC is a limited liability company organized and existing under the laws of the State of

       Florida with its principal place of business at 600 S. Dixie Highway, Suite 605, West Palm Beach,

       Florida 33401.

2.     Upon information and belief, Defendant is a domestic for-profit corporation organized and existing

       under the laws of the State of Delaware, with a principal place of business located at 221 River

       Street, Hoboken, New Jersey 07030. On information and belief, Defendant may be served through

       its registered agent in the State of Delaware at: National Registered Agents, Inc., 160 Greentree

       Drive, Suite 101, Dover, Delaware 19904.

                                     JURISDICTION AND VENUE

3.     This Court has subject matter jurisdiction over this case under 28 U.S.C. §§ 1331 and 1338(a).

4.     This Court has personal jurisdiction over Defendant. On information and belief, Defendant has

       continuous and systematic business contacts with the State of New Jersey. On information and

       belief, Defendant maintains physical offices and employees in the State of New Jersey, and

       promotes itself as being licensed by the New Jersey Division of Gaming Enforcement. Moreover,

       on information and belief, Defendant generates substantial revenues in this District from its

       infringing Mobile Wagering Platform. Indeed, the New Jersey office location is promoted by

       DraftKings as the headquarters for the Sportsbook Team, which is the subject of the instant action

       for infringement.




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       See https://careers.draftkings.com/locations/.

5.     On information and belief, DraftKings has a substantial presence in the State of New Jersey and

       within this District, as exemplified by the LinkedIn Profile Page for DraftKings, which indicates

       there are over 200 employees of DraftKings residing in the greater New York City area.




       See DraftKings LinkedIn Profile Page, at: https://www.linkedin.com/company/draftkings-inc-/.



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6.     On information and belief, DraftKings provides a plurality of gambling and event wagering

       services, including but not limited to providing and supporting its branded Mobile Wagering

       Platform, which is comprised of hardware (including servers) and software (including source

       code). On information and belief, such hardware and software are made, used, sold, offered for

       sale, and tested on the authority and under the direction of DraftKings. Such branded Mobile

       Wagering Platform of DraftKings is directly accessible to users in the United States through the

       Internet domains and mobile applications of DraftKings.

7.     Venue is proper in the District of New Jersey as to Defendant pursuant to at least 28 U.S.C. §§

       1391(b) and (c) and 1400(b). As noted above, Defendant maintains a regular and established

       business presence in this District.

                                             PATENTS-IN-SUIT

8.     Plaintiff is the sole and exclusive owner, by assignment, of U.S. Patent Nos. 9,965,920 (“the ’920

       Patent”); 10,043,341 (“the ’341 Patent”); 10,147,266 (“the ’266 Patent”); and 10,255,755 (“the

       ’755 Patent”) (hereinafter collectively referred to as “the Beteiro Patents”).

9.     By operation of law, the Beteiro Patents were originally issued and exclusively vested to the sole

       named inventor, Raymond Anthony Joao, as of the date of their respective issuances. See 35

       U.S.C. § 261; Schwendimann v. Arkwright Advanced Coating, Inc., 959 F.3d 1065, 1072 (Fed.

       Cir. 2020); Suppes v. Katti, 710 Fed. Appx. 883, 887 (Fed. Cir. 2017); Taylor v. Taylor Made

       Plastics, Inc., 565 Fed. Appx. 888, 889 (Fed. Cir. 2014). Mr. Joao, in a written instrument dated

       March 6, 2012, and filed with the United States Patent and Trademark Office on May 7, 2015 at

       Reel 035604 and Frames 0126-0132, assigned all rights, title, and interest in the Beteiro Patents to

       GTJ Ventures, LLC. Thereafter, in a written instrument dated June 15, 2021, and filed with the

       United States Patent and Trademark Office on June 16, 2021 at Reel 056566 and Frames 0057-




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        0060, GTJ Ventures assigned all rights, title, and interest in the Beteiro Patents to the Plaintiff,

        Beteiro, LLC. As such, Plaintiff Beteiro LLC has sole and exclusive standing to assert the Beteiro

        Patents and to bring these causes of action.

10.     The Beteiro Patents are valid, enforceable, and were duly issued in full compliance with Title 35

        of the United States Code.

11.     The inventions described and claimed in the Beteiro Patents were invented individually and

        independently by Raymond Anthony Joao.

12.     Mr. Joao is a prolific inventor, with more than 80 issued United States Patents to his credit. The

        Beteiro Patents represent substantial advancements in the gambling industry which were

        unconventional at the time of invention. In fact, Mr. Joao is extremely knowledgeable in the field,

        having earned: (i) a Masters Degree in Sports Management from Columbia University (New

        York); and (ii) a Masters Degree in Global Sports Law from Instituto Superior de Derecho y

        Economia (Madrid, Spain).

13.     The Beteiro Patents each include numerous claims defining distinct inventions.

14.     The priority date of each of the Beteiro Patents is at least as early as May 31, 2002. As of the

        priority date, the inventions as claimed were novel, non-obvious, unconventional, and non-routine.

        Among other things, as of the priority date, the mobile gaming industry was essentially non-

        existent. The first mobile gaming venture to launch internationally did not arise until 2003 in the

        United Kingdom, and that in the form of an elementary interactive instant win game. See, e.g.,

        https://www.gamblingcommission.gov.uk/for-the-public/National-Lottery/About-the-National-

        Lottery.aspx. The concept of geolocation restrictions on such gaming platforms was not routine

        as of the priority date, and did not become so until many years thereafter. Indeed, it was not until

        2006 that the Nevada Gaming Control Board first cleared the way for wireless gambling in the




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                5
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        United States. Even at that time, the primary concern was over data security and identity controls,

        not geolocation    See https://www.nytimes.com/2006/05/03/technology/techspecial3/03gamble.

        html?smid=url-share.

15.     As further evidence of the non-routine and unconventional nature of the solutions captured in the

        Beteiro Patents is the stated position of the now-leading geolocation provider in the United States

        that: “Historically, the notion that you could indeed draw geographical boundaries on the internet

        would have been laughable; such was the weakness of the original technologies and the availability

        of cheap and easy methods to fake your location online.” See https://www.geocomply.com/paspa-

        geolocation-compliance/. As such, the prevailing view as of the date of invention was to avoid

        global positioning as a means of legal compliance.

16.     As further evidence of the stated non-routine aspects of the inventions, during prosecution of the

        ’920 Patent, Primary Examiner Jasson Yoo specifically and expressly considered whether the

        claims of the ’920 Patent were eligible under 35 USC §101 in view of the United States Supreme

        Court’s decision in Alice. Examiner Yoo affirmatively and expressly found that the claims are in

        fact patent eligible under 35 USC §101 because: (i) all claims explicitly require the use of a

        particular machine or processor to detect the posting of information; (ii) all claims explicitly

        require the use of a particular machine or processor to generate and transmit a notification message

        to a communication device; (iii) all claims explicitly require the use of a particular receiver for

        receiving a bet message including location information; and (iv) all claims explicitly require the

        use of a particular machine or processor to determine whether the bet is allowed or disallowed by

        using GPS. See Notice of Allowability, dated March 16, 2018.

17.     As further evidence of the stated non-routine aspects of the inventions, during prosecution of the

        ’341 Patent, Primary Examiner Jasson Yoo specifically and expressly considered whether the




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                6
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        claims of the ’341 Patent were eligible under 35 USC §101 in view of the United States Supreme

        Court’s decision in Alice. Examiner Yoo affirmatively and expressly found that the claims are in

        fact patent eligible under 35 USC §101 because: (i) all claims explicitly require the use of a

        particular machine or processor to detect the posting of information; (ii) all claims explicitly

        require the use of a particular machine or processor to generate and transmit a notification message

        to a communication device; (iii) all claims explicitly require the use of a particular machine or

        processor for receiving a bet message including location information; and (iv) all claims explicitly

        require the use of a particular machine or processor to determine whether the bet is allowed or

        disallowed by using GPS. See Notice of Allowability, dated June 11, 2018.

18.     As further evidence of the stated non-routine aspects of the inventions, during prosecution of the

        ’266 Patent, Primary Examiner Jasson Yoo specifically and expressly considered whether the

        claims of the ’266 Patent were eligible under 35 USC §101 in view of the United States Supreme

        Court’s decision in Alice. Examiner Yoo affirmatively and expressly found that the claims are in

        fact patent eligible under 35 USC §101 because: (i) all claims explicitly require the use of a

        particular machine or processor to detect the posting of information; (ii) all claims explicitly

        require the use of a particular machine or processor to generate and transmit a notification message

        to a communication device; (iii) all claims explicitly require the use of a particular machine or

        processor for receiving a bet message including location information; and (iv) all claims explicitly

        require the use of a particular machine or processor to determine whether the bet is allowed or

        disallowed by using GPS. See Notice of Allowability, dated June 11, 2018.

19.     As further evidence of the stated non-routine aspects of the inventions, during prosecution of

        Application No. 16/939,030, Primary Examiner Jasson Yoo specifically and expressly considered

        whether the then-pending claims were eligible under 35 USC §101 in view of the United States




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                7
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        Supreme Court’s decision in Alice. Examiner Yoo affirmatively and expressly found that the

        claims are in fact patent eligible under 35 USC §101 because: (i) all claims integrate the invention

        into a practical application by providing an improvement to a technical field; (ii) all claims provide

        an improvement to a technical field by allowing individuals to access gaming or gambling venues

        and/or activities without requiring them to be physically located at gaming or gambling venues

        and/or activities; (iii) all claims provide individuals with information regarding the gaming or

        gambling venues so that bets can be placed from a remote location; (iv) all claims achieve the

        stated benefits by: (a) detecting a posting of information regarding a gaming activity, gambling

        activity or sporting event, and (b) generating a notification message regarding the gaming activity,

        gambling activity or sporting event; (v) in all claims a global position device is used to determine

        a position or location information of a communication device associated with the individual, and

        allowing or disallowing the activity request or bet based on the position or location information;

        as such, the claimed machine is required and imposes a meaningful limit on the scope of a claim

        and plays a significant part in permitting the claimed method to be performed; (vi) at the time the

        application was filed, the use of global positioning systems for various applications and providing

        a user a message if a posting was detected were not as well-known as today; in fact, and as

        indicated in the specification, prior art systems failed to provide a system that allows individuals

        access to particular gaming venues or gaming activities, and did not provide individuals certain

        information for enhancing their experience; and (vii) the claimed invention provides an

        improvement to online betting and therefore is integrated into a practical application. See Notice

        of Allowability, dated October 27, 2021.

20.     Plaintiff alleges infringement on the part of Defendant of the ’920 Patent, the ’341 Patent, the ’266

        Patent, and the ’755 Patent (collectively as the “Asserted Patents”).




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                  8
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21.     The ’920 Patent relates generally to an apparatus, including a processor, specially programmed to

        detect a posting of information regarding a sporting event for which a bet can be placed, which

        detects the posting regarding the sporting event and generates a notification message containing

        information regarding the sporting event. The apparatus initiates a communication link with a first

        user communication device and transmits the notification message to the first user communication

        device via the communication link; a receiver which receives a bet message, containing

        information regarding a bet on or regarding the sporting event, transmitted from the first user

        communication device or a second user communication device; and a transmitter. The apparatus

        or processor processes information for placing the bet and the transmitter transmits video

        information or audio information regarding, and obtained at, the sporting event to the first user

        communication device, the second user communication device, or a third user communication

        device. See Abstract, ’920 Patent.

22.     The ’341 Patent relates generally to an apparatus, including a computer including a processor

        which detects a posting of information regarding a gaming activity, gambling activity, or sporting

        event, and generates the notification message. The computer initiates a communication link with

        a first device and transmits the notification message to the first device. The computer receives a

        bet message transmitted from the first device or from a second device. The first device or second

        communication device includes a global positioning device and a display. The bet message

        contains information regarding a bet to be placed and information regarding the position or

        location of the first device or second device at a time of a transmission of the bet message. The

        computer determines if the bet is allowed or disallowed using position or location information of

        the first device or the second device. See Abstract, ’341 Patent.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               9
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23.   The ’266 Patent relates generally to an apparatus, including a computer. The computer detects a

      posting of information regarding a gaming activity, gambling activity, or sporting event, and

      generates a notification message. The computer initiates a communication link with, and transmits

      the notification message to, a first communication device, or the computer transmits the

      notification message as an electronic mail message which is received by a first communication

      device. The computer receives a bet message transmitted from the first communication device or

      a second communication device. The first communication device or second communication device

      includes a global positioning device which determines a position or location of the first

      communication device or second communication device. The computer determines if the bet is

      allowed or disallowed using the position or location information. If allowed, the computer

      processes information for placing the bet. If disallowed, the computer processes information for

      disallowing the bet. See Abstract, ’266 Patent.

24.   The ’755 Patent relates generally to a method and apparatus, including: detecting, with a computer,

      a posting of information regarding a gaming activity, gambling activity, or sporting event;

      generating a notification message regarding the same; initiating a communication link with, and

      transmitting the notification message to, a first communication device as an electronic

      transmission, or transmitting the notification message as an electronic mail message; receiving a

      bet message transmitted from the first communication device or a second communication device,

      wherein the first communication device or the second communication device comprises a global

      positioning device which determines a position or location of the first communication device or

      second communication device, wherein the bet message contains information regarding a bet to

      be placed regarding the activity or event, and information regarding the position or location of the




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             10
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      first communication device or second communication device; and determining whether the bet is

      allowed or disallowed using the position or location information. See Abstract, ’755 Patent.

25.   As noted, the claims of the Asserted Patents have priority to at least May 31, 2002. At that time,

      the use of geolocation and global positioning as an integral data point in the processing of mobile

      wagers was still many years away. For example, the first GPS chip to be incorporated into a mobile

      device with sufficient sensitivity to assess the ability of an individual to place a wager in a given

      jurisdiction was the GL20000 GPS Chip, which was first used in the HP iPaq in 2005.

26.   Still further, the current industry leader in the space – GeoComply – did not even exist until 2011,

      nearly a full decade later than the nominal date of invention in May 2002.                See, e.g.,

      https://www.geocomply.com/about-us/. This fact alone is compelling evidence of the non-routine

      and unconventional inventive concepts captured in the claims of the Beteiro Patents.

27.   The claims of the Asserted Patents are not drawn to laws of nature, natural phenomena, or abstract

      ideas. Although the systems and methods claimed in the Asserted Patents are ubiquitous now

      (and, as a result, are widely infringed), the specific combinations of elements, as recited in the

      claims, were not conventional or routine at the time of the invention.

28.   Further, the claims of the Asserted Patents contain inventive concepts which transform the

      underlying non-abstract aspects of the claims into patent-eligible subject matter.

29.   Consequently, the claims of the Asserted Patents recite apparatuses and methods resulting in

      improved functionality of the claimed systems and represent technological improvements to the

      operation of computers. The claims of the Asserted Patents provide a basis for legally compliant

      remote wagering, increased accessibility to wagering platforms, increased opportunity for

      wagering providers, increased accessibility to wagering information to wagerers, reduced fraud,




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              11
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      and more secure transactions among wagering providers and wagerers. See, e.g., ’920 Patent at

      2:5-7:58.

30.   The claims of the Asserted Patents overcome deficiencies existing in the art as of the date of

      invention, and comprise non-conventional approaches that transform the inventions as claimed

      into substantially more than mere abstract ideas. For example, as of the date of invention, “[w]hile

      many individuals enjoy gambling and/or enjoy engaging in gaming activities and/or gambling

      activities, they may not always have access to particular gaming venues or gaming activities.

      Further, while many individuals may also be interested in making a gaming and/or gambling

      experience more interesting, more challenging, and/or more exciting, they typically do not have

      access to certain information, products, and/or services, for enhancing their experience or

      experiences.” ’920 Patent at 1:44-52. The inventions as claimed overcome these deficiencies in

      the state of the art, and provide a means by which interested parties can access gambling services

      remotely, while preserving geographic restrictions on such access. As explained, as of the date of

      invention, “prior art gaming systems and/or gambling systems, as well as conventional gaming

      practices and/or gambling practices, have failed to provide the gaming community with services,

      products, and/or other offerings, which would provide for more enhanced gaming and/or gambling

      activities, environments, and/or experiences.” ’920 Patent at 1:53-58.

31.   As of the date of invention (and still today), different jurisdictions had different laws relating to

      gambling activities, but no effective way to administer and regulate electronic and online

      wagering. Accordingly, the inventions as claimed provided a technological solution to the

      technological problems arising in the online wagering context. As explained: “The present

      invention can be utilized to facilitate compliance with the various and respective state, country,

      and/or sovereignty, gaming laws and/or gambling laws and/or so as to facilitate any reporting of




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              12
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      gaming activities and/or gambling activities to the appropriate state, country, and/or sovereignty,

      authorities and/or so as to facilitate any payments of fees and/or taxes relating to the gaming

      activities and/or gambling activities.” ’920 Patent at 16:14-21. Indeed, one of the express objects

      of the inventions as claimed was “to provide an apparatus and method for facilitating gaming

      activity and/or gambling activity which utilize global positioning technology in order to ascertain

      the jurisdiction in which or from which a bet is placed.” ’920 Patent at 26:14-18. Such a solution

      was unconventional as of the date of invention, especially in view of the state of the art at the time,

      which was dependent upon in-person wagering.

32.   The inventions as claimed further overcome the deficiencies existing in the art as of the date of

      invention by providing a means by which gambling platform providers could more effectively

      market various gaming activities to wider audiences. As explained, the inventions as claimed

      overcome these deficiencies by “allow[ing] a user or player to access a central processing computer

      and search for a gaming activity, gaming activities, a gaming event, or gaming events, in which

      the user or player may desire to bet or participate.” ’920 Patent at 32:6-10. As such, the inventions

      as claimed provide non-conventional solutions to the conventional problems of the day by making

      it possible to expose more individuals to the various gaming options available in the market.

33.   The inventions as claimed further overcome the deficiencies existing in the art as of the date of

      invention by providing methods and apparatuses for providing wagering opportunities on an

      increased scale over traditional person-to-person live wagering. As explained, the inventions as

      claimed overcome prior deficiencies in this regard because “the apparatus 100 also includes any

      number of user computers or user communication devices 20.” ’920 Patent at 35:65-67. As such,

      the inventions as claimed provide non-conventional solutions to the conventional problems of the




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                13
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      day because the wagering platform providers can maximize the number of wagers made without a

      proportional increase in overhead, wagering equipment/terminals, or employee capacity.

34.   As noted, as of the date of invention (and still today), different jurisdictions had different laws

      relating to gambling activities, but no effective way to administer and regulate electronic and

      online wagering. A key problem as of the date of invention was the inability of wagering platform

      providers to geographically restrict access by remote participants. Accordingly, the inventions as

      claimed provided a technological solution to the technological problems arising in the online

      wagering context by unconventionally adapting the mobile devices used by wagering participants

      so as to create new mobile gaming machines. As explained: “[T]he user communication device

      20 can also include a global positioning device 20J for determining the position or location of the

      user communication device 20. In a preferred embodiment, the global positioning device 20J can

      be utilized to determine the position or location of the user communication device 20 so as to, for

      example, determine a jurisdiction in which the user communication device 20 is located and/or is

      being utilized.” ’920 Patent at 44:37-44. As such, the inventions as claimed provided non-

      conventional solutions to the conventional problems of the day. Indeed, the very infringing

      scenarios in existence today were contemplated and foreseen by the inventor many years ago: “In

      another preferred embodiment, wherein the user communication device 20 is a wireless

      communication device and/or a mobile communication device (i.e. personal digital assistant,

      wireless videophone, wireless telephone, or palm-held device, etc., which can be equipped with a

      global positioning system (GPS) device 20J), the location of the user communication device 20

      and, therefore, the location from which the gaming activity and/or gambling activity originates

      and/or from which it takes place can be determined by the user communication device 20

      automatically transmitting position data and/or information to the respective central processing




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            14
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      computer 10 and/or gaming facility computer 30 at the time of the user's accessing of the respective

      central processing computer 10 and/or gaming facility computer 30.” ’920 Patent at 80:10-24.

      Again, this scenario was far from conventional as of the date of invention, as evidenced by the fact

      that the first iPhone was not introduced to the market until 2007, and the common “app-store” did

      not exist until 2008, many years after the date of invention. https://en.wikipedia.org/wiki/IPhone

      and https://en.wikipedia.org/wiki/App_Store_(iOS/iPadOS).        Moreover, as of 2002, it was

      effectively illegal in the United States to even wager on athletic events, much less to do so

      remotely. More specifically, the Professional and Amateur Sports Protection Act of 1992 was the

      federal law in effect from October 1992 until it was declared unconstitutional by the United States

      Supreme Court in May 2018. See Murphy v. National Collegiate Athletics Association, 138 S.Ct.

      1461 (2018). In view of the prevailing and long-standing laws in the United States, the inventive

      concepts captured in the claims of the Beteiro Patents were plainly unconventional and non-

      routine.

35.   As noted, as of the date of invention (and still today), different jurisdictions had different laws

      relating to gambling activities, but no effective way to administer and regulate electronic and

      online wagering. A key problem as of the date of invention was the inability of wagering platform

      providers to geographically restrict access by remote participants. Accordingly, the inventions as

      claimed provided a technological solution to the technological problems arising in the online

      wagering context by creating unconventional central processing computers specially programmed

      to assess the legality of proposed wagers in real-time. As explained: “At step 2003, the respective

      central processing computer 10 and/or gaming facility computer 30 can determine if the remote

      gaming activity and/or gambling activity is allowed by the state having jurisdiction over the remote

      gaming activity and/or gambling activity. If, at step 2003, the respective central processing




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             15
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      computer 10 and/or gaming facility computer 30 determines that the remote gaming activity and/or

      gambling activity is disallowed by the identified state having jurisdiction over same, then the

      operation of the apparatus 100 will proceed to step 2004 and the respective central processing

      computer 10 and/or gaming facility computer 30 will cancel the respective bet, wager, and/or

      gaming activity and/or gambling activity.” ’920 Patent at 80:37-50. As such, the claimed “central

      processing computer” does not merely comprise standard conventional hardware and software;

      rather, as claimed, it advances the functionality of the computer as a useful tool in the electronic

      processing of wagers, the prevention of illegal gambling, and providing a measure of compliance

      on the part of wagering platform providers.

36.   As noted above, during prosecution of each of the ’920 Patent, the ’341 Patent, and the ’266 Patent,

      the Primary Patent Examiner specifically considered whether the claims at issue were eligible

      under 35 USC §101 in view of the United States Supreme Court’s decision in Alice. In each

      instance, after due consideration, the Primary Patent Examiner expressly found that the claims are

      in fact patent eligible under 35 USC §101 because: (i) all claims explicitly require the use of a

      particular machine or processor to detect the posting of information; (ii) all claims explicitly

      require the use of a particular machine or processor to generate and transmit a notification message

      to a communication device; (iii) all claims explicitly require the use of a particular machine or

      processor for receiving a bet message including location information; and (iv) all claims explicitly

      require the use of a particular machine or processor to determine whether the bet is allowed or

      disallowed by using GPS. The Primary Patent Examiner was, in each instance, correct. For these

      same reasons, all of the claims of the Asserted Patents are patent-eligible.

37.   The ’920 Patent was examined by Primary United States Patent Examiner Jasson Yoo. During the

      examination of the ’920 Patent, the United States Patent Examiner searched for prior art in the




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             16
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      following US Classifications: CPC, A63F 13/00; A63F 9/24; G07F 17/32; G07F 17/3244; G07F

      17/3237; G07F 17/3223; and G07F 17/3288.

38.   After conducting a search for prior art during the examination of the ’920 Patent, the United States

      Patent Examiner identified and cited the following as the most relevant prior art references found

      during the search: (i) US6104815; (ii) US6113493; (iii) US2002/0002075; (iv) US2002/0054088;

      (v) US2002/0098829; (vi) US6443841; (vii) US2002/0147049; (viii) US20020183105; and (ix)

      US6508709.

39.   After giving full proper credit to the prior art and having conducted a thorough search for all

      relevant art and having fully considered the most relevant art known at the time, the United States

      Patent Examiner allowed all of the claims of the ’920 Patent to issue. In so doing, it is presumed

      that Examiner Yoo used his knowledge of the art when examining the claims. K/S Himpp v. Hear-

      Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further presumed that Examiner

      Yoo has experience in the field of the invention, and that the Examiner properly acted in

      accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir.

      2002). In view of the foregoing, the claims of the ’920 Patent are novel and non-obvious, including

      over all non-cited art which is merely cumulative with the referenced and cited prior art. Likewise,

      the claims of the ’920 Patent are novel and non-obvious, including over all non-cited

      contemporaneous state of the art systems and methods, all of which would have been known to a

      person of ordinary skill in the art, and which were therefore presumptively also known and

      considered by Examiner Yoo.

40.   The ’920 Patent is a pioneering patent, and has been cited as relevant prior art in over 25

      subsequent United States Patent Applications, including Applications Assigned to such technology




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      leaders as Marketmaker Software, Ebay, Apple, WMS Gaming, Sony, Intralot, Joingo, and Metric

      Gaming.

41.   The ’341 Patent was examined by Primary United States Patent Examiner Jasson Yoo. During the

      examination of the ’341 Patent, the United States Patent Examiner searched for prior art in the

      following US Classifications: G07F 17/3237; G07F 17/3288; G07F 17/3223; G07F 17/3244; and

      G07F 17/32.

42.   After conducting a search for prior art during the examination of the ’341 Patent, the United States

      Patent Examiner identified and cited the following as the most relevant prior art references found

      during the search: (i) US6104815; (ii) US9965920; and (iii) 2002/0183105.

43.   After giving full proper credit to the prior art and having conducted a thorough search for all

      relevant art and having fully considered the most relevant art known at the time, the United States

      Patent Examiner allowed all of the claims of the ’341 Patent to issue. In so doing, it is presumed

      that Examiner Yoo used his knowledge of the art when examining the claims. K/S Himpp v. Hear-

      Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further presumed that Examiner

      Yoo has experience in the field of the invention, and that the Examiner properly acted in

      accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir.

      2002). In view of the foregoing, the claims of the ’341 Patent are novel and non-obvious, including

      over all non-cited art which is merely cumulative with the referenced and cited prior art. Likewise,

      the claims of the ’341 Patent are novel and non-obvious, including over all non-cited

      contemporaneous state of the art systems and methods, all of which would have been known to a

      person of ordinary skill in the art, and which were therefore presumptively also known and

      considered by Examiner Yoo.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             18
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44.   The ’341 Patent is a pioneering patent, and has been cited as relevant prior art in over 25

      subsequent United States Patent Applications, including Applications Assigned to such technology

      leaders as Marketmaker Software, Ebay, Apple, WMS Gaming, Sony, Intralot, Joingo, and Metric

      Gaming.

45.   The ’266 Patent was examined by Primary United States Patent Examiner Jasson Yoo. During the

      examination of the ’266 Patent, the United States Patent Examiner searched for prior art in the

      following US Classifications: G07F 17/3237; G07F 17/3288; G07F 17/3223; G07F 17/3244; and

      G07F 17/32.

46.   After conducting a search for prior art during the examination of the ’266 Patent, the United States

      Patent Examiner identified and cited the following as the most relevant prior art references found

      during the search: (i) US6104815; and (ii) 2002/0183105.

47.   After giving full proper credit to the prior art and having conducted a thorough search for all

      relevant art and having fully considered the most relevant art known at the time, the United States

      Patent Examiner allowed all of the claims of the ’266 Patent to issue. In so doing, it is presumed

      that Examiner Yoo used his knowledge of the art when examining the claims. K/S Himpp v. Hear-

      Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further presumed that Examiner

      Yoo has experience in the field of the invention, and that the Examiner properly acted in

      accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir.

      2002). In view of the foregoing, the claims of the ’266 Patent are novel and non-obvious, including

      over all non-cited art which is merely cumulative with the referenced and cited prior art. Likewise,

      the claims of the ’266 Patent are novel and non-obvious, including over all non-cited

      contemporaneous state of the art systems and methods, all of which would have been known to a




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             19
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      person of ordinary skill in the art, and which were therefore presumptively also known and

      considered by Examiner Yoo.

48.   The ’266 Patent is a pioneering patent, and has been cited as relevant prior art in over 25

      subsequent United States Patent Applications, including Applications Assigned to such technology

      leaders as Marketmaker Software, Ebay, Apple, WMS Gaming, Sony, Intralot, Joingo, and Metric

      Gaming.

49.   The ’755 Patent was examined by Primary United States Patent Examiner Jasson Yoo. During the

      examination of the ’755 Patent, the United States Patent Examiner searched for prior art in the

      following US Classifications: G07F 17/3237; G07F 17/3288; G07F 17/3223; G07F 17/3244; and

      G07F 17/32.

50.   After conducting a search for prior art during the examination of the ’755 Patent, the United States

      Patent Examiner identified and cited the following as the most relevant prior art references found

      during the search: (i) US6106815; and (ii) 2002/0183105.

51.   After giving full proper credit to the prior art and having conducted a thorough search for all

      relevant art and having fully considered the most relevant art known at the time, the United States

      Patent Examiner allowed all of the claims of the ’755 Patent to issue. In so doing, it is presumed

      that Examiner Yoo used his knowledge of the art when examining the claims. K/S Himpp v. Hear-

      Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further presumed that Examiner

      Yoo has experience in the field of the invention, and that the Examiner properly acted in

      accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir.

      2002). In view of the foregoing, the claims of the ’755 Patent are novel and non-obvious, including

      over all non-cited art which is merely cumulative with the referenced and cited prior art. Likewise,

      the claims of the ’755 Patent are novel and non-obvious, including over all non-cited




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             20
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      contemporaneous state of the art systems and methods, all of which would have been known to a

      person of ordinary skill in the art, and which were therefore presumptively also known and

      considered by Examiner Yoo.

52.   The ’755 Patent is a pioneering patent, and has been cited as relevant prior art in over 25

      subsequent United States Patent Applications, including Applications Assigned to such technology

      leaders as Marketmaker Software, Ebay, Apple, WMS Gaming, Sony, Intralot, Joingo, and Metric

      Gaming.

53.   The claims of the Asserted Patents were all properly issued, and are valid and enforceable for the

      respective terms of their statutory life through expiration, and are enforceable for purposes of

      seeking damages for past infringement even post-expiration. See, e.g., Genetics Institute, LLC v.

      Novartis Vaccines and Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir. 2011) (“[A]n expired

      patent is not viewed as having ‘never existed.’ Much to the contrary, a patent does have value

      beyond its expiration date. For example, an expired patent may form the basis of an action for

      past damages subject to the six-year limitation under 35 U.S.C. § 286”) (internal citations omitted).

54.   The expiration dates of the Beteiro Patents are at least the following: the ’920 Patent expires no

      earlier than May 19, 2023; the ’341 Patent expires no earlier than May 19, 2023; the ’266 Patent

      expires no earlier than May 19, 2023; and the ’755 Patent expires no earlier than May 19, 2023.

                            THE ACCUSED INSTRUMENTALITIES

55.   Upon information and belief, Defendant makes, sells, advertises, offers for sale, uses, or otherwise

      provides a plurality of gambling and event wagering services, including but not limited to

      providing and supporting its branded Mobile Wagering Platform, which is comprised of hardware

      (including servers) and software (including source code). On information and belief, such

      hardware and software are made, used, sold, offered for sale, and tested on the authority and under




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              21
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     the direction of DraftKings. Such branded Mobile Wagering Platform of DraftKings is directly

     accessible to users in the United States through the Internet domains and mobile applications of

     DraftKings.   On information and belief, the DraftKings system comprises servers and/or

     computers with receivers, memory, processors, and transmitters, together with the interactive

     Internet domains and mobile applications of DraftKings which collectively operate as a single

     controlled apparatus to administer the DraftKings branded Mobile Wagering Platform in the

     United States. On information and belief, the DraftKings branded Mobile Wagering Platform

     offered by DraftKings is marketed as DraftKings Sportsbook and the associated State-Specific

     Domains, including but not limited to: New Jersey (sportsbook.draftkings.com/nj), New

     Hampshire     (sportsbook.draftkings.com/nh),     Connecticut    (sportsbook.draftkings.com/ct),

     Pennsylvania (sportsbook.draftkings.com/pa), West Virginia (sportsbook.draftkings.com/wv),

     Virginia (sportsbook.draftkings.com/va), Tennessee (sportsbook.draftkings.com/tn), Michigan

     (sportsbook.draftkings.com/mi),       Iowa         (sportsbook.draftkings.com/ia),          Illinois

     (sportsbook.draftkings.com/il),     Indiana       (sportsbook.draftkings.com/in),         Wyoming

     (sportsbook.draftkings.com/wy),    Colorado     (sportsbook.draftkings.com/co),     and    Arizona

     (sportsbook.draftkings.com/az), as well as the associated Mobile Applications including

     DraftKings Sportsbook and Casino (the “DraftKings Domains”). Collectively, all of the foregoing

     comprise the “Accused Instrumentalities.” See Figure Group A.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            22
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     See https://sportsbook.draftkings.com/help/sports-betting/where-is-sports-betting-legal?




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                      23
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     See https://sportsbook.draftkings.com/leagues/football.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                        24
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     See https://sportsbook.draftkings.com/how-to-bet.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                        25
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     See https://sportsbook.draftkings.com/live?category=live-in-game&subcategory=tennis.




     See https://sportsbook.draftkings.com/legal/nj-terms-of-use.




     See https://sportsbook.draftkings.com/featured?category=live-in-game.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                  26
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      See
      https://play.google.com/store/apps/details?id=com.draftkings.sportsbook&hl=en_US&gl=US.

                                       FIGURE GROUP A

56.   On information and belief, the Accused Instrumentalities collect, process, and utilize location

      information relative to the specific communication device (e.g., the laptop computer or mobile

      device) of the DraftKings interactive Internet domain and/or mobile application associated with

      individual users of the DraftKings Wagering Platform. On information and belief, acceptance and

      use of such location information is a requirement imposed by DraftKings on all users of the

      infringing Accused Instrumentalities in the United States. See Figure Group B.




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      See https://help.draftkings.com/hc/en-us/sections/4404927472019-Geolocation-Troubleshooting.




      See https://sportsbook.draftkings.com/legal/nj-terms-of-use.

                                        FIGURE GROUP B

57.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts



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      wagers, including but not limited to one or more of the following: (i) Colorado, as licensed and

      regulated by the Colorado Department of Revenue – Division of Gaming; (ii) Illinois, as licensed

      and regulated by the Illinois Gaming Board; (iii) Indiana, as licensed and regulated by the Indiana

      Gaming Commission; (iv) Iowa, as licensed and regulated by the Iowa Racing and Gaming

      Commission; (v) Michigan, as licensed and regulated by the Michigan Gaming Control Board;

      (vi) New Hampshire, as licensed and regulated by the New Hampshire Lottery Commission; (vii)

      New Jersey, as licensed and regulated by the New Jersey Division of Gaming Enforcement; (viii)

      Pennsylvania, as licensed and regulated by the Pennsylvania Gaming Control Board; (ix)

      Tennessee, as licensed and regulated by the Tennessee Education Lottery Corporation; (x)

      Virginia, as licensed and regulated by the Virginia Lottery; (xi) West Virginia, as licensed and

      regulated by the West Virginia Lottery Commission; (xii) Montana, as licensed and regulated by

      the Montana Lottery; (xiii) Nevada, as licensed and regulated by the Nevada Gaming Commission;

      (xiv) Oregon, as licensed and regulated by the Oregon Lottery; and (xv) Rhode Island, as licensed

      and regulated by the Rhode Island Lottery.

58.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts

      wagers, including but not limited to the United States Unlawful Internet Gambling Enforcement

      Act of 2006 (31 U.S.C. §§ 5361-5367).

59.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts

      wagers, including but not limited to the Colorado Department of Revenue – Enforcement Division,

      Gaming Sports Industry Bulletin Number 3, dated April 20, 2020.




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60.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts

      wagers, including but not limited to Section 1900.1430 of Title 11, Section E, Chapter I of the

      Illinois Administrative Code.

61.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts

      wagers, including but not limited to: (i) Chapter 11 of Indiana Title 68 – Indiana Gaming

      Commission Emergency Rule 20-448E, dated August 17, 2020; and (ii) IC 4-38-3-1 of Indiana

      Title 4 (Indiana Sports Wagering Statute).

62.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts

      wagers, including but not limited to Technical Bulletin 2020-01, dated August 6, 2020, as issued

      by the Michigan Gaming Control Board.

63.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts

      wagers, including but not limited to Section 287-I:7 of Title XXIV of the New Hampshire Statutes.

64.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts

      wagers, including but not limited to Section 2(m) of New Jersey Assembly Bill 4111, dated June

      4, 2018.

65.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts




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      wagers, including but not limited to the Pennsylvania Expanded Gaming Act, as well as Section

      809.07 of Title 58 of the Pennsylvania Code.

66.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts

      wagers, including but not limited to Rule 15.1.7 (Q) of Chapter 15 of the Tennessee Sports Gaming

      Regulations, as promulgated by the Tennessee Education Lottery Corporation, as well as the TELC

      Technical Bulletin Issued August 24, 2020 relating thereto.

67.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts

      wagers, including but not limited to Section 50.1-4034 of Title 58.1, Chapter 40, of the Virginia

      State Code.

68.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts

      wagers, including but not limited to Section 29-22D-15 of West Virginia 2018 Senate Bill 415.

69.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts

      wagers, including but not limited to Montana House Bill 725 (2019).

70.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts

      wagers, including but not limited to Sections 22.140 and 22.145 of Regulation 22 of the Nevada

      Gaming Control Board.

71.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                          31
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      wagers, including but not limited to Section 177-092-0025 of Chapter 177, Division 92 as

      promulgated by the Oregon State Lottery.

72.   On information and belief, the Accused Instrumentalities are compliant with the mobile gambling

      laws and regulations of the jurisdictions in which the DraftKings Wagering Platform accepts

      wagers, including but not limited to Sections 20.20(H) and 20.32 of the Rhode Island Lottery Rules

      and Regulations, dated December 2020.

                                             COUNT I
                             Infringement of U.S. Patent No. 10,043,341

73.   Plaintiff incorporates the above paragraphs by reference.

74.   Defendant has been on actual notice of the ’341 Patent at least as early as the date it received

      service of the Original Complaint in this litigation.

75.   Upon information and belief, Defendant owns and controls the operation of the Accused

      Instrumentalities and generates substantial financial revenues therefrom.

76.   Upon information and belief, Defendant has directly infringed and continues to directly infringe

      at least Claim 13 of the ’341 Patent by making, using, importing, selling, and/or, offering for sale

      the Accused Instrumentalities. Defendant directly makes the infringing Accused Instrumentalities

      at least because it is solely responsible for putting the infringing system into service by directing

      and/or controlling the system as a whole and by obtaining the benefits therefrom.              More

      specifically, and on information and belief, Defendant: (i) developed and maintains the infringing

      DraftKings Domains; (ii) authored and owns the source code on which the DraftKings branded

      Mobile Wagering Platform functions; (iii) took affirmative steps to assemble and finance the

      hardware (including servers and/or computers with receivers, memory, processors, and

      transmitters) on which the Accused Instrumentalities operate; (iv) manages and controls the

      functionality on all such hardware, including by managing and controlling the software in use on



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      such hardware; (v) specifically embeds and/or requires the presence and use of global positioning

      devices as part of the DraftKings branded Mobile Wagering Platform; (vi) assumes ownership,

      credit, and responsibility for the Accused Instrumentalities by its overt branding and advertising

      of same; and (vii) receives substantial financial returns from the infringing operations of the

      Accused Instrumentalities. See Figure Groups A, B, and C. Defendant further directly uses the

      infringing Accused Instrumentalities at least because it assembled the combined infringing

      elements and makes them collectively available in the United States. Further, and on information

      and belief, Defendant has directly infringed by using the infringing Accused Instrumentalities as

      part of its ongoing and regular testing and/or internal legal compliance activities.            More

      specifically, in order to maintain legal compliance in the United States, DraftKings is required to

      periodically monitor and ensure that the Accused Instrumentalities are performing as designed and

      intended, including but not limited to the enforcement of geographical restrictions of use. Such

      testing and legal compliance necessarily requires DraftKings to make and use the Accused

      Instrumentalities in an infringing manner. Still further, Defendant is a direct infringer by virtue of

      its branding and marketing activities which collectively comprise the sale and offering for sale of

      the infringing Accused Instrumentalities. See Figure Group A.

77.   The Accused Instrumentalities comprise an apparatus including a computer, wherein the computer

      is specially programmed for processing information for providing for a placement of a bet on or

      regarding a sporting event.     As noted above, and on information and belief, the Accused

      Instrumentalities collectively comprise the DraftKings branded Mobile Wagering Platform, which

      is comprised of hardware (including servers) and software (including source code). Such branded

      Mobile Wagering Platform of DraftKings is directly accessible to users in the United States

      through the DraftKings Domains. On information and belief, the DraftKings system comprises




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     servers and/or computers with receivers, memory, processors, and transmitters, together with the

     interactive Internet domains and mobile applications of DraftKings which collectively operate as

     a single controlled apparatus to administer the DraftKings branded Mobile Wagering Platform in

     the United States. The existence of the DraftKings branded Mobile Wagering Platform necessarily

     requires the presence and use of a specially programmed computer or computer system, including

     Internet servers. As illustrated immediately below, such computer is specially programmed for

     offering, accepting, monitoring, and fulfilling wagers made by individuals on various events,

     including sporting events. Such activities comprise “processing information for providing for a

     placement of a bet.” See Figure Group C.




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     See https://sportsbook.draftkings.com/leagues/football.




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     See https://help.draftkings.com/hc/en-us.

                                       FIGURE GROUP C




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78.   The aforementioned computer(s) of the Accused Instrumentalities include at least one receiver,

      which is configured to receive requests to notify individual users regarding the sporting event for

      which wagers can be placed. More specifically, when a user logs into or accesses the infringing

      DraftKings branded Mobile Wagering Platform via the DraftKings Domains, the infringing

      apparatus receives a set of user credentials which serve as a request to be notified of available

      sporting events for which wagers can be placed. On information and belief, once the user logs

      into or accesses the infringing DraftKings branded Mobile Wagering Platform via the DraftKings

      Domains, the infringing apparatus stores information regarding the request to be notified in

      memory. The stored information is used, inter alia, to assist in designating the user as “logged in”

      or “logged out” of an account maintained on the DraftKings branded Mobile Wagering Platform.

79.   In addition, or in the alternative, the receiver of the DraftKings branded Mobile Wagering Platform

      is configured such that it receives incoming HTTP requests from users accessing the DraftKings

      Domains via a web browser or application. Such HTTP requests initiate a dynamic and interactive

      session with the DraftKings branded Mobile Wagering Platform. The incoming request for

      information is a request to be notified regarding available sporting events for which wagers can be

      placed; such requests are stored and satisfied when the infringing apparatus returns page content

      to the user via the DraftKings branded Mobile Wagering Platform.

80.   The apparatus of the Accused Instrumentalities includes a specially programmed processor, which

      detects postings of information regarding sporting events for which wagers can be placed and

      generates notification messages regarding such sporting events. Such processor detects the posting

      of sporting event schedules, wager availability, wagering odds, wager popularity, sporting event

      scoring and statistics, sporting event results, and wager status. Upon detection, the processor of

      the DraftKings branded Mobile Wagering Platform delivers notification messages, which are




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             38
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      reflected and take the form of updated, new, or revised data displayed via the DraftKings Domains.

      By way of example, the infringing processor detects the posting of updated odds for specific

      wagers, and thereupon generates and delivers notification messages to those who have requested

      such notifications via the DraftKings Domains. On information and belief, such notifications are

      delivered to requestors when the computer of the infringing apparatus initiates a communication

      link with the browser via the DraftKings Domains, which are assembled and displayed on the

      communication device associated with the individual user (such as, for example, the DraftKings

      Mobile Application on the user mobile device). See Figure Groups A and C.

81.   The computer of the Accused Instrumentalities is configured to receive bet messages transmitted

      from the communication devices of users of the DraftKings branded Mobile Wagering Platform

      via the DraftKings Domains. Indeed, this is the primary purpose and objective of the Accused

      Instrumentalities. More specifically, the user interfaces of the DraftKings Domains are specially

      programmed such that users can select from a menu of available sporting event wagers and

      transmit such wager selections (“bet messages”) via the Internet to the servers and processors of

      the DraftKings branded Mobile Wagering Platform for fulfillment. See Figure Groups A and C.

82.   On information and belief, the DraftKings branded Mobile Wagering Platform requires users to

      provide at least one global positioning device for each communication device. Such global

      positioning devices determine the physical location of such communication devices, and are

      essential and required by DraftKings for all users of the Accused Instrumentalities; DraftKings

      thus places the whole infringing apparatus into service and otherwise establishes the manner of

      performance of the claimed elements and/or conditions participation in the wagering opportunities

      upon the provision of such global positioning devices. See Figure Group B. More specifically,

      and on information and belief, in order to make beneficial use of the DraftKings branded Mobile




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                           39
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      Wagering Platform, users are required to accept and download, install, enable, and/or activate

      global positioning software on all devices from which wagers are able to be placed. Such software

      is required to be actively installed or enabled as part of the registration, log-in, or wagering process,

      or is otherwise embedded into the DraftKings Domains for seamless automatic installation and

      enablement. In addition, and/or in the alternative, the DraftKings branded Mobile Wagering

      Platform processes and assesses the respective global positioning devices of each communication

      device by identifying the specific network routing or IP address for each such communication

      device, or by processing functionally similar data.

83.   On information and belief, the DraftKings branded Mobile Wagering Platform is configured such

      that the global positioning data of the communication device is transmitted contemporaneous with

      the bet message, and is otherwise contained as part of the bet message.

84.   On information and belief, the computer/processor of the DraftKings branded Mobile Wagering

      Platform is configured such that it processes incoming bet messages for the purpose of allowing

      or disallowing the wagers associated therewith. On information and belief, as part of the regulatory

      compliance protocols implemented by DraftKings, the decision to either allow or disallow a given

      wager is determined, at least in part, upon the information regarding the global position of the

      communication device from which the bet message originated. See Figure Group B.

85.   The foregoing infringement on the part of DraftKings has caused past and ongoing injury to

      Plaintiff. The specific dollar amount of damages adequate to compensate for the infringement

      shall be determined at trial but is in no event less than a reasonable royalty from the date of first

      infringement to the expiration of the ’341 Patent.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                  40
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86.   To the extent Defendant continues, and has continued, its infringing activities noted above in an

      infringing manner post-notice of the ’341 Patent, such infringement is and will be necessarily

      willful and deliberate.

87.   Each of Defendant’s aforesaid activities have been without authority and/or license from Plaintiff.

                                               COUNT II
                                Infringement of U.S. Patent No. 10,147,266

88.   Plaintiff incorporates the above paragraphs by reference.

89.   Defendant has been on actual notice of the ’266 Patent at least as early as the date it received

      service of the Original Complaint in this litigation.

90.   Upon information and belief, Defendant owns and controls the operation of the Accused

      Instrumentalities and generates substantial financial revenues therefrom.

91.   Upon information and belief, Defendant has directly infringed and continues to directly infringe

      at least Claim 1 of the ’266 Patent by making, using, importing, selling, and/or, offering for sale

      the Accused Instrumentalities. Defendant directly makes the infringing Accused Instrumentalities

      at least because it is solely responsible for putting the infringing system into service by directing

      and/or controlling the system as a whole and by obtaining the benefits therefrom.              More

      specifically, and on information and belief, Defendant: (i) developed and maintains the infringing

      DraftKings Domains; (ii) authored and owns the source code on which the DraftKings branded

      Mobile Wagering Platform functions; (iii) took affirmative steps to assemble and finance the

      hardware (including servers and/or computers with receivers, memory, processors, and

      transmitters) on which the Accused Instrumentalities operate; (iv) manages and controls the

      functionality on all such hardware, including by managing and controlling the software in use on

      such hardware; (v) specifically embeds and/or requires the presence and use of global positioning

      devices as part of the DraftKings branded Mobile Wagering Platform; (vi) assumes ownership,



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              41
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      credit, and responsibility for the Accused Instrumentalities by its overt branding and advertising

      of same; and (vii) receives substantial financial returns from the infringing operations of the

      Accused Instrumentalities. See Figure Groups A, B, and C. Defendant further directly uses the

      infringing Accused Instrumentalities at least because it assembled the combined infringing

      elements and makes them collectively available in the United States. Further, and on information

      and belief, Defendant has directly infringed by using the infringing Accused Instrumentalities as

      part of its ongoing and regular testing and/or internal legal compliance activities.            More

      specifically, in order to maintain legal compliance in the United States, DraftKings is required to

      periodically monitor and ensure that the Accused Instrumentalities are performing as designed and

      intended, including but not limited to the enforcement of geographical restrictions of use. Such

      testing and legal compliance necessarily requires DraftKings to make and use the Accused

      Instrumentalities in an infringing manner. Still further, Defendant is a direct infringer by virtue of

      its branding and marketing activities which collectively comprise the sale and offering for sale of

      the infringing Accused Instrumentalities. See Figure Group A.

92.   The Accused Instrumentalities comprise an apparatus including a computer, wherein the computer

      is specially programmed for processing information for providing for a placement of a bet on or

      regarding a gaming activity, a gambling activity, or a sporting event. As noted above, and on

      information and belief, the Accused Instrumentalities collectively comprise the DraftKings

      branded Mobile Wagering Platform, which is comprised of hardware (including servers) and

      software (including source code). Such branded Mobile Wagering Platform of DraftKings is

      directly accessible to users in the United States through the DraftKings Domains. On information

      and belief, the DraftKings system comprises servers and/or computers with receivers, memory,

      processors, and transmitters, together with the interactive Internet domains and mobile applications




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               42
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      of DraftKings which collectively operate as a single controlled apparatus to administer the

      DraftKings branded Mobile Wagering Platform in the United States. The existence of the

      DraftKings branded Mobile Wagering Platform necessarily requires the presence and use of a

      specially programmed computer or computer system, including Internet servers. As illustrated in

      Figure Group C, such computer is specially programmed for offering, accepting, monitoring, and

      fulfilling wagers made by individuals on various events, including sporting events. Such activities

      comprise “processing information for providing for a placement of a bet on or regarding a gaming

      activity, a gambling activity, or a sporting event.” See Figure Group C.

93.   The apparatus of the Accused Instrumentalities includes a specially programmed processor, which

      detects postings of information regarding gaming activities, gambling activities, and/or sporting

      events for which wagers can be placed and generates notification messages regarding such sporting

      events and/or activities. Such processor detects the posting of sporting event schedules, wager

      availability, wagering odds, wager popularity, sporting event scoring and statistics, sporting event

      results, and wager status. Upon detection, the processor of the DraftKings branded Mobile

      Wagering Platform delivers notification messages, which are reflected and take the form of

      updated, new, or revised data displayed via the DraftKings Domains. By way of example, the

      infringing processor detects the posting of updated odds for specific wagers, and thereupon

      generates and delivers notification messages via the DraftKings Domains. On information and

      belief, such notifications are delivered to requestors when the computer of the infringing apparatus

      initiates a communication link with the browser via the DraftKings Domains (“electronic

      transmission”), which are received, assembled, and displayed on the communication device

      associated with the individual user (such as, for example, the DraftKings Mobile Application on

      the user mobile device). See Figure Groups A and C.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             43
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94.   The computer of the Accused Instrumentalities is configured to receive bet messages transmitted

      from the communication devices of users of the DraftKings branded Mobile Wagering Platform

      via the DraftKings Domains. Indeed, this is the primary purpose and objective of the Accused

      Instrumentalities. More specifically, the user interfaces of the DraftKings Domains are specially

      programmed such that users can select from a menu of available sporting event wagers and

      transmit such wager selections (“bet messages”) via the Internet to the servers and processors of

      the DraftKings branded Mobile Wagering Platform for fulfillment. See Figure Groups A and C.

95.   On information and belief, the DraftKings branded Mobile Wagering Platform requires users to

      provide at least one global positioning device for each communication device. Such global

      positioning devices determine the physical location of such communication devices, and are

      essential and required by DraftKings for all users of the Accused Instrumentalities; DraftKings

      thus places the whole infringing apparatus into service and otherwise establishes the manner of

      performance of the claimed elements and/or conditions participation in the wagering opportunities

      upon the provision of such global positioning devices. See Figure Group B. More specifically,

      and on information and belief, in order to make beneficial use of the DraftKings branded Mobile

      Wagering Platform, users are required to accept and download, install, enable, and/or activate

      global positioning software on all devices from which wagers are able to be placed. Such software

      is required to be actively installed or enabled as part of the registration, log-in, or wagering process,

      or is otherwise embedded into the DraftKings Domains for seamless automatic installation and

      enablement. In addition, and/or in the alternative, the DraftKings branded Mobile Wagering

      Platform processes and assesses the respective global positioning devices of each communication

      device by identifying the specific network routing or IP address for each such communication

      device, or by processing functionally similar data.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                  44
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96.    On information and belief, the DraftKings branded Mobile Wagering Platform is configured such

       that the global positioning data of the communication device is transmitted contemporaneous with

       the bet message, and is otherwise contained as part of the bet message.

97.    On information and belief, the computer/processor of the DraftKings branded Mobile Wagering

       Platform is configured such that it processes incoming bet messages for the purpose of allowing

       or disallowing the wagers associated therewith. On information and belief, as part of the regulatory

       compliance protocols implemented by DraftKings, the decision to either allow or disallow a given

       wager is determined, at least in part, upon the information regarding the global position of the

       communication device from which the bet message originated. See Figure Group B.

98.    The foregoing infringement on the part of DraftKings has caused past and ongoing injury to

       Plaintiff. The specific dollar amount of damages adequate to compensate for the infringement

       shall be determined at trial but is in no event less than a reasonable royalty from the date of first

       infringement to the expiration of the ’266 Patent.

99.    To the extent Defendant continues, and has continued, its infringing activities noted above in an

       infringing manner post-notice of the ’266 Patent, such infringement is and will be necessarily

       willful and deliberate.

100.   Each of Defendant’s aforesaid activities have been without authority and/or license from Plaintiff.

                                                COUNT III
                                 Infringement of U.S. Patent No. 10,255,755

101.   Plaintiff incorporates the above paragraphs by reference.

102.   Defendant has been on actual notice of the ’755 Patent at least as early as the date it received

       service of the Original Complaint in this litigation.

103.   Upon information and belief, Defendant owns and controls the operation of the Accused

       Instrumentalities and generates substantial financial revenues therefrom.



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               45
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104.   Upon information and belief, Defendant has directly infringed and continues to directly infringe

       at least Claim 2 of the ’755 Patent by making, using, importing, selling, and/or, offering for sale

       the Accused Instrumentalities. Defendant directly makes the infringing Accused Instrumentalities

       at least because it is solely responsible for putting the infringing system into service by directing

       and/or controlling the system as a whole and by obtaining the benefits therefrom.              More

       specifically, and on information and belief, Defendant: (i) developed and maintains the infringing

       DraftKings Domains; (ii) authored and owns the source code on which the DraftKings branded

       Mobile Wagering Platform functions; (iii) took affirmative steps to assemble and finance the

       hardware (including servers and/or computers with receivers, memory, processors, and

       transmitters) on which the Accused Instrumentalities operate; (iv) manages and controls the

       functionality on all such hardware, including by managing and controlling the software in use on

       such hardware; (v) specifically embeds and/or requires the presence and use of global positioning

       devices as part of the DraftKings branded Mobile Wagering Platform; (vi) assumes ownership,

       credit, and responsibility for the Accused Instrumentalities by its overt branding and advertising

       of same; and (vii) receives substantial financial returns from the infringing operations of the

       Accused Instrumentalities. See Figure Groups A, B, and C. Defendant further directly uses the

       infringing Accused Instrumentalities at least because it assembled the combined infringing

       elements and makes them collectively available in the United States. Further, and on information

       and belief, Defendant has directly infringed by using the infringing Accused Instrumentalities as

       part of its ongoing and regular testing and/or internal legal compliance activities.           More

       specifically, in order to maintain legal compliance in the United States, DraftKings is required to

       periodically monitor and ensure that the Accused Instrumentalities are performing as designed and

       intended, including but not limited to the enforcement of geographical restrictions of use. Such




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               46
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       testing and legal compliance necessarily requires DraftKings to make and use the Accused

       Instrumentalities in an infringing manner. Still further, Defendant is a direct infringer by virtue of

       its branding and marketing activities which collectively comprise the sale and offering for sale of

       the infringing Accused Instrumentalities. See Figure Group A.

105.   The Accused Instrumentalities comprise an apparatus including a computer, wherein the computer

       is specially programmed to perform the function of processing information for providing for a

       placement of a bet on or regarding a gaming activity, a gambling activity, or a sporting event. As

       noted above, and on information and belief, the Accused Instrumentalities collectively comprise

       the DraftKings branded Mobile Wagering Platform, which is comprised of hardware (including

       servers) and software (including source code). Such branded Mobile Wagering Platform of

       DraftKings is directly accessible to users in the United States through the DraftKings Domains.

       On information and belief, the DraftKings system comprises servers and/or computers with

       receivers, memory, processors, and transmitters, together with the interactive Internet domains and

       mobile applications of DraftKings which collectively operate as a single controlled apparatus to

       administer the DraftKings branded Mobile Wagering Platform in the United States. The existence

       of the DraftKings branded Mobile Wagering Platform necessarily requires the presence and use of

       a specially programmed computer or computer system, including Internet servers. As illustrated

       in Figure Group C, such computer is specially programmed for offering, accepting, monitoring,

       and fulfilling wagers made by individuals on various events, including sporting events. Such

       activities comprise a specially programmed computer for “processing information for providing

       for a placement of a bet on or regarding a gaming activity, a gambling activity, or a sporting event,

       a posting of information regarding the gaming activity, the gambling activity, or the sporting

       event.”




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                47
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106.   The apparatus of the Accused Instrumentalities includes a specially programmed processor, which

       is configured such that it detects and processes postings of information regarding gaming activities,

       gambling activities, and/or sporting events for which wagers can be placed and generates

       notification messages (with or using a computer) regarding such sporting events and/or activities.

       More specifically, such processor is specially configured such that it detects the posting of sporting

       event schedules, wager availability, wagering odds, wager popularity, sporting event scoring and

       statistics, sporting event results, and wager status. Upon detection, the processor of the DraftKings

       branded Mobile Wagering Platform is specially programmed such that it delivers and transmits

       notification messages, which are reflected and take the form of updated, new, or revised data

       displayed via the DraftKings Domains.          By way of example, the infringing processor is

       programmed such that it detects the posting of updated odds for specific wagers, and thereupon

       generates and transmits notification messages via the DraftKings Domains. On information and

       belief, such notifications are programmed to be transmitted and delivered to requestors when the

       computer of the infringing apparatus initiates a communication link with the browser via the

       DraftKings Domains (“electronic transmission”), which are programmed to be received,

       assembled, and displayed on the communication device associated with the individual user (such

       as, for example, the DraftKings Mobile Application on the user mobile device). See Figure Groups

       A and C.

107.   The computer of the Accused Instrumentalities is specially programmed such that it receives bet

       messages transmitted from the communication devices of users of the DraftKings branded Mobile

       Wagering Platform via the DraftKings Domains. Indeed, this is the primary purpose and objective

       of the Accused Instrumentalities. More specifically, the user interfaces of the DraftKings Domains

       are specially programmed such that users can select from a menu of available sporting event




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                48
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       wagers and transmit such wager selections (“bet messages”) via the Internet to the servers and

       processors of the DraftKings branded Mobile Wagering Platform for fulfillment. See Figure

       Groups A and C.

108.   On information and belief, the DraftKings branded Mobile Wagering Platform is specially

       programmed such that it requires users to provide at least one global positioning device for each

       communication device. Such global positioning devices determine the physical location of such

       communication devices, and are essential and required by DraftKings for all users of the Accused

       Instrumentalities; DraftKings thus places the whole infringing apparatus into service and otherwise

       establishes the manner of performance of the claimed elements and/or conditions participation in

       the wagering opportunities upon the provision of such global positioning devices. See Figure

       Group B. More specifically, and on information and belief, in order to make beneficial use of the

       DraftKings branded Mobile Wagering Platform, users are required to accept and download, install,

       enable, and/or activate global positioning software on all devices from which wagers are able to

       be placed. Such software is required to be actively installed or enabled as part of the registration,

       log-in, or wagering process, or is otherwise embedded into the DraftKings Domains for seamless

       automatic installation and enablement. In addition, and/or in the alternative, the DraftKings

       branded Mobile Wagering Platform is specially programmed such that it processes and assesses

       the respective global positioning devices of each communication device by identifying the specific

       network routing or IP address for each such communication device, or by processing functionally

       similar data.

109.   On information and belief, the DraftKings branded Mobile Wagering Platform is specially

       programmed such that the global positioning data of the communication device is transmitted

       contemporaneous with the bet message, and is otherwise contained as part of the bet message.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               49
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110.   On information and belief, the computer/processor of the DraftKings branded Mobile Wagering

       Platform is specially programmed such that it processes incoming bet messages for the purpose of

       allowing or disallowing the wagers associated therewith. On information and belief, as part of the

       regulatory compliance protocols implemented by DraftKings, the decision to either allow or

       disallow a given wager is determined, at least in part, upon the information regarding the global

       position of the communication device from which the bet message originated. See Figure Group

       B.

111.   The foregoing infringement on the part of DraftKings has caused past and ongoing injury to

       Plaintiff. The specific dollar amount of damages adequate to compensate for the infringement

       shall be determined at trial but is in no event less than a reasonable royalty from the date of first

       infringement to the expiration of the ’755 Patent.

112.   To the extent Defendant continues, and has continued, its infringing activities noted above in an

       infringing manner post-notice of the ’755 Patent, such infringement is and will be necessarily

       willful and deliberate.

113.   Each of Defendant’s aforesaid activities have been without authority and/or license from Plaintiff.

                                               COUNT IV
                                 Infringement of U.S. Patent No. 9,965,920

114.   Plaintiff incorporates the above paragraphs by reference.

115.   Defendant has been on actual notice of the ’920 Patent at least as early as the date it received

       service of the Original Complaint in this litigation.

116.   Upon information and belief, Defendant owns and controls the operation of the Accused

       Instrumentalities and generates substantial financial revenues therefrom.

117.   Upon information and belief, Defendant has directly infringed and continues to directly infringe

       at least Claim 16 of the ’920 Patent by making, using, importing, selling, and/or, offering for sale



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               50
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     the Accused Instrumentalities. Defendant directly makes the infringing Accused Instrumentalities

     at least because it is solely responsible for putting the infringing system into service by directing

     and/or controlling the system as a whole and by obtaining the benefits therefrom.               More

     specifically, and on information and belief, Defendant: (i) developed and maintains the infringing

     DraftKings Domains; (ii) authored and owns the source code on which the DraftKings branded

     Mobile Wagering Platform functions; (iii) took affirmative steps to assemble and finance the

     hardware (including servers and/or computers with receivers, memory, processors, and

     transmitters) on which the Accused Instrumentalities operate; (iv) manages and controls the

     functionality on all such hardware, including by managing and controlling the software in use on

     such hardware; (v) specifically embeds and/or requires the presence and use of global positioning

     devices as part of the DraftKings branded Mobile Wagering Platform; (vi) assumes ownership,

     credit, and responsibility for the Accused Instrumentalities by its overt branding and advertising

     of same; and (vii) receives substantial financial returns from the infringing operations of the

     Accused Instrumentalities. See Figure Groups A, B, and C. Defendant further directly uses the

     infringing Accused Instrumentalities at least because it assembled the combined infringing

     elements and makes them collectively available in the United States. Further, and on information

     and belief, Defendant has directly infringed by using the infringing Accused Instrumentalities as

     part of its ongoing and regular testing and/or internal legal compliance activities.            More

     specifically, in order to maintain legal compliance in the United States, DraftKings is required to

     periodically monitor and ensure that the Accused Instrumentalities are performing as designed and

     intended, including but not limited to the enforcement of geographical restrictions of use. Such

     testing and legal compliance necessarily requires DraftKings to make and use the Accused

     Instrumentalities in an infringing manner. Still further, Defendant is a direct infringer by virtue of




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              51
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       its branding and marketing activities which collectively comprise the sale and offering for sale of

       the infringing Accused Instrumentalities. See Figure Group A.

118.   The Accused Instrumentalities comprise an apparatus including a computer, wherein the computer

       is specially programmed for processing information for providing for a placement of a bet on or

       regarding a sporting event.     As noted above, and on information and belief, the Accused

       Instrumentalities collectively comprise the DraftKings branded Mobile Wagering Platform, which

       is comprised of hardware (including servers) and software (including source code). Such branded

       Mobile Wagering Platform of DraftKings is directly accessible to users in the United States

       through the DraftKings Domains. On information and belief, the DraftKings system comprises

       servers and/or computers with receivers, memory, processors, and transmitters, together with the

       interactive Internet domains and mobile applications of DraftKings which collectively operate as

       a single controlled apparatus to administer the DraftKings branded Mobile Wagering Platform in

       the United States. The existence of the DraftKings branded Mobile Wagering Platform necessarily

       requires the presence and use of a specially programmed computer or computer system, including

       Internet servers. As illustrated in Figure Group C, such computer is specially programmed for

       offering, accepting, monitoring, and fulfilling wagers made by individuals on various events,

       including sporting events.

119.   The apparatus of the Accused Instrumentalities includes a specially programmed processor, which

       detects postings of information regarding sporting events for which wagers can be placed via the

       Internet, and generates notification messages regarding such sporting events. More specifically,

       such processor is specially programmed such that it detects the posting of sporting event schedules,

       wager availability, wagering odds, wager popularity, sporting event scoring and statistics, sporting

       event results, and wager status. Upon detection, the processor of the DraftKings branded Mobile




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              52
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       Wagering Platform is specially programmed such that it transmits and delivers notification

       messages, which are reflected and take the form of updated, new, or revised data displayed via the

       DraftKings Domains. By way of example, the infringing processor is specially programmed such

       that it detects the posting of updated odds for specific wagers, and thereupon generates and delivers

       notification messages via the DraftKings Domains. On information and belief, such notifications

       are delivered to requestors when the computer of the infringing apparatus initiates a

       communication link with the browser via the DraftKings Domains, which are received, assembled,

       and displayed on the communication device associated with the individual user (such as, for

       example, the DraftKings Mobile Application on the user mobile device). See Figure Groups A

       and C.

120.   The computer of the Accused Instrumentalities is specially configured to receive bet messages

       transmitted from the communication devices of users of the DraftKings branded Mobile Wagering

       Platform via the DraftKings Domains. Indeed, this is the primary purpose and objective of the

       Accused Instrumentalities. More specifically, the user interfaces of the DraftKings Domains are

       specially programmed such that users can select from a menu of available sporting event wagers

       and transmit such wager selections (“bet messages”) via the Internet to the servers and processors

       of the DraftKings branded Mobile Wagering Platform for fulfillment. See Figure Groups A and

       C.

121.   On information and belief, the DraftKings branded Mobile Wagering Platform requires users to

       provide at least one global positioning device for each communication device. Such global

       positioning devices determine the physical location of such communication devices, and are

       essential and required by DraftKings for all users of the Accused Instrumentalities; DraftKings

       thus places the whole infringing apparatus into service and otherwise establishes the manner of




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               53
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       performance of the claimed elements and/or conditions participation in the wagering opportunities

       upon the provision of such global positioning devices. See Figure Group B. More specifically,

       and on information and belief, in order to make beneficial use of the DraftKings branded Mobile

       Wagering Platform, users are required to accept and download, install, enable, and/or activate

       global positioning software on all devices from which wagers are able to be placed. Such software

       is required to be actively installed or enabled as part of the registration, log-in, or wagering process,

       or is otherwise embedded into the DraftKings Domains for seamless automatic installation and

       enablement. In addition, and/or in the alternative, the DraftKings branded Mobile Wagering

       Platform processes and assesses the respective global positioning devices of each communication

       device by identifying the specific network routing or IP address for each such communication

       device, or by processing functionally similar data.

122.   On information and belief, the DraftKings branded Mobile Wagering Platform is configured such

       that the global positioning data of the communication device is transmitted contemporaneous with

       the bet message, and is otherwise contained as part of the bet message.

123.   On information and belief, the computer/processor of the DraftKings branded Mobile Wagering

       Platform is configured such that it processes incoming bet messages for the purpose of allowing

       or disallowing the wagers associated therewith. On information and belief, as part of the regulatory

       compliance protocols implemented by DraftKings, the decision to either allow or disallow a given

       wager is determined, at least in part, upon the information regarding the global position of the

       communication device from which the bet message originated. See Figure Group B.

124.   On information and belief, the Accused Instrumentalities further comprise video recording and/or

       video conferencing devices which are configured to obtain and/or record live video information

       regarding the sporting events for which wagers can be placed. The Accused Instrumentalities




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                   54
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     further comprise transmitters, which are programmed so as to transmit such video information to

     users of the infringing system via the DraftKings Domains. On information and belief, such video

     information is transmitted and delivered to users when the computer of the infringing apparatus

     initiates a communication link with the browser via the DraftKings Domains, which are received,

     assembled, and displayed on the communication device associated with the individual user (such

     as, for example, the DraftKings Mobile Application on the user mobile device) in the form of real-

     time game status and odds updates. See Figure Groups A, C, and D.




     See https://sportsbook.draftkings.com/live?category=live-in-game&subcategory=tennis.

                                       FIGURE GROUP D




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                          55
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125.   The foregoing infringement on the part of DraftKings has caused past and ongoing injury to

       Plaintiff. The specific dollar amount of damages adequate to compensate for the infringement

       shall be determined at trial but is in no event less than a reasonable royalty from the date of first

       infringement to the expiration of the ’920 Patent.

126.   To the extent Defendant continues, and has continued, its infringing activities noted above in an

       infringing manner post-notice of the ’920 Patent, such infringement is and will be necessarily

       willful and deliberate.

127.   Each of Defendant’s aforesaid activities have been without authority and/or license from Plaintiff.

                                        PRAYER FOR RELIEF

       WHEREFORE, Beteiro, LLC respectfully requests the Court enter judgment against Defendant as

follows:

       1.     Declaring that Defendant has infringed each of the Asserted Patents;

       2.     Awarding Beteiro, LLC its damages suffered because of Defendant’s infringement of the

              Asserted Patents;

       3.     Awarding Beteiro, LLC its costs, reasonable attorneys’ fees, expenses, and interest;

       4.     Granting a permanent injunction pursuant to 35 U.S.C. § 283, enjoining Defendants from

              further acts of infringement with respect to the Asserted Patents;

       5.     Awarding Beteiro, LLC ongoing post-trial royalties for infringement of the non-expired

              Asserted Patents; and

       6.     Granting Beteiro, LLC such further relief as the Court finds appropriate.

                                            JURY DEMAND

       Beteiro, LLC demands trial by jury, under Fed. R. Civ. P. 38.




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                             LOCAL CIVIL RULE 11.2 CERTIFICATION

       Pursuant to Local Civil Rule 11.2, Plaintiff states that, to its knowledge, the matter in controversy

in this action is not the subject of any other action in any court, or any pending arbitration or administrative

proceeding, except the following matters pending in the Western District of Texas: Beteiro, LLC v. PlayUp

Ltd; 6:21-cv-1150; Beteiro, LLC v. Morris Mohawk; 6:21-cv-1149; Beteiro, LLC v. Kindred Group; 6:21-

cv-1148; Beteiro, LLC v. Elys Game Tech.; 6:21-cv-1147; and Beteiro, LLC v. Flutter Entertainment;

6:21-cv-1162.


 Dated: November 22, 2021                              Respectfully Submitted

                                                       /s/ David A. Ward
                                                       David A. Ward
                                                          New Jersey Bar No. 042381996
                                                          dward@klugerhealey.com
                                                       KLUGER HEALEY, LLC
                                                       521 Newman Springs Road, Suite 23
                                                       Lincroft, NJ 07738
                                                       Telephone: (973) 307-0800
                                                       Facsimile: (888) 635-1653


                                                       M. Scott Fuller
                                                         Texas Bar No. 24036607
                                                         Georgia Bar No. 100968
                                                         sfuller@ghiplaw.com
                                                       Randall Garteiser
                                                         Texas Bar No. 24038912
                                                         California Bar No. 239829
                                                         rgarteiser@ghiplaw.com

                                                       GARTEISER HONEA, PLLC
                                                       119 W. Ferguson Street
                                                       Tyler, Texas 75702
                                                       Telephone: (903) 705-7420
                                                       Facsimile: (888) 908-4400
                                                       Pro Hac Vice Pending
                                                       ATTORNEYS FOR PLAINTIFF
                                                       BETEIRO, LLC




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